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        INC., and SCOOBUR, LLC
    8

    9                              UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
  10
                                         LOS ANGELES DIVISION
  11                                                             Case No. 2:19-bk-14989-WB
            In re:                                               Jointly Administered:
  12                                                             2:19-bk-14991-WB; 2:19-bk-14997-WB
            SCOOBEEZ, et al. 1
  13                                                             Chapter 11
                     Debtors and Debtors in Possession.
  14
            Affects:                                             DEBTORS’ REPLY TO AMAZON LOGISTICS,
  15
                                                                 INC.’S OBJECTION TO ASSUMPTION AND
            ■ All Debtors                                        ASSIGNMENT OF DELIVERY PROVIDER
  16
                                                                 TERMS OF SERVICE WORK ORDER
            □ Scoobeez, ONLY
  17
                                                                 Hearing:
            □ Scoobeez Global, Inc., ONLY                        Date: October 17
  18
                                                                 Time: 10:00 a.m.
            □ Scoobur LLC, ONLY                                  Place: Courtroom 1375
  19
                                                                        U.S. Bankruptcy Court
  20                                                                    255 East Temple Street
                                                                        Los Angeles, CA 90012
  21

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         The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez
  28
        (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale,
        California 91214.


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    1                                               I. INTRODUCTION
    2              Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors in possession
    3   (collectively “Debtors” or “Scoobeez”) in the above-captioned chapter 11 bankruptcy cases (collectively
    4   the “Chapter 11 Cases”) hereby file their reply to objections to Amazon Logistics, Inc.’s Objection to
    5   Assumption and Assignment of Delivery Provider Terms of Service Work Order [Docket No. 349] (the
    6   “Amazon Objection”). By the Amazon Objection, Amazon Logistics, Inc. (“Amazon”) objects to
    7   assumption and assignment of its contracts with the Debtors as proposed in the Debtors’ Motion for Entry
    8   of Order (I) Authorizing the Sale of Substantially All of the Assets of Debtor Outside The Ordinary
    9   Course Of Business, Free and Clear of All Liens, Claims, Encumbrances and Interests, Subject to Higher
  10    and Better Bids; (II) Authorizing the Assumption and Assignment of Certain Executory Contracts and
  11    Unexpired Leases in Connection With Such Sale; and (III) Granting Related Relief [Docket No. 329], filed
  12    on September 19, 2019 (the “Sale Motion”).
  13               Amazon is the Debtors’ largest customer. Scoobeez provides delivery services to Amazon pursuant
  14    to its contract with Amazon (the “Amazon Agreement”). As described in the Amazon Opposition, the
  15    Amazon Agreement is made up of the Delivery Provider Terms of Service (the “Terms of Service”),
  16    which provides the overarching terms of the contract, and a “Work Order,” which provides specific
  17    locations and pricing terms. The Work Order has been updated by amendment eighteen times.
  18               The Amazon Objection asserts three grounds for objection to assumption and assignment, all of
  19    which fall apart under any scrutiny.
  20               First Amazon argues that the contract is not executory, because Amazon does not have any
  21    requirements as to the extent to which it must request services from Scoobeez. This cursory argument
  22    simply ignores Amazon’s executory obligations to pay for services already performed, to license
  23    equipment to Scoobeez for use in providing services, and to indemnify Scoobeez with regard to third party
  24    claims arising from use of the equipment.
  25               Second, Amazon argues that Scoobeez has failed to cure or provided adequate assurance of a
  26    prompt cure. This argument is clearly nothing more than pretext. It rests on an indemnity and defense
  27    obligation as to three identified lawsuits under which there is simply no current indemnity obligation, in
  28    one case because Scoobeez settled the lawsuit, and in two others because the cases are pending and no

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    1   indemnity obligation has arisen. As to the obligation to defend, Amazon has elected to choose its own
    2   counsel, has not submitted any requests for reimbursement, and has never asserted that Scoobeez was in
    3   breach until now.
    4              Finally, third, Amazon asserts a failure to provide adequate assurance of future performance. As to
    5   Hillair as the stalking horse buyer, this is fully addressed by Hillair in its reply. As to potential
    6   overbidders, this argument is not ripe.
    7              Amazon fails to provide any persuasive argument that the Amazon Agreement is not executory,
    8   or that there is any barrier to assumption and assignment.
    9

  10    II. THE AMAZON CONTRACT IS AN EXECUTORY CONTRACT THAT CAN BE ASSUMED
  11                             AND ASSIGNED IN THE DEBTORS’ BUSINESS JUDGMENT
  12               Amazon does not object to the Sale. The extent of its objection is limited to the assumption and
  13    assignment of its contract in connection with the Sale. Hillair has advised the Debtors that it still wishes
  14    to close the Sale on the terms agreed, including assumption and assignment of the Amazon Agreement,
  15    and the Debtors have determined to maintain their ability to effect the Sale.
  16               Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a debtor in possession
  17    “subject to the court’s approval, may assume or reject any executory contract or [unexpired] lease of the
  18    debtor.” 11 U.S.C. § 365(a); In re Standor Jewelers West, Inc., 129 BR 200, 201 (9th Cir. BAP 1991).
  19    The debtor may then assign the executory contract to a third party, notwithstanding any provision in the
  20    contract that “prohibits, restricts, or conditions the assignment of such contract or lease.” 11 U.S.C. §
  21    365(f). The purpose of allowing assumption is to provide “a means whereby a debtor can force others to
  22    continue to do business with it when the bankruptcy filing might otherwise make them reluctant to do
  23    so.” In re Penn Traffic Co., 524 F.3d 373, 382 (2d Cir. 2008).
  24               A.     The Amazon Agreement is Executory
  25               Amazon’s perfunctory argument in the Amazon Objection that the Amazon Agreement is not
  26    executory does not stand up to any real scrutiny. Contrary to Amazon’s assertion, an examination of the
  27    Amazon Agreement reveals clear, material unperformed obligations on both sides.
  28

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    1              The provisions of section 365 allowing assumption and assignment of contracts require that the
    2   contract be executory. “Executory” is not defined in the Bankruptcy Code. In general, courts have held
    3 that “an executory contract is one ‘on which performance remains due to some extent on both sides.’” In

    4   re Robert L. Helms Constr. & Dev. Co., Inc., 139 F.3d 702, 705 (9th Cir. 1998), quoting National Labor
    5   Relations Board v. Bildisco and Bildisco, 465 U.S. 513, 522–23 n. 6 (1982). A contract is therefore
    6   executory if “the obligations of both parties are so unperformed that the failure of either party to
    7   complete performance would constitute a material breach and thus excuse the performance of the other.”
    8   Griffel v. Murphy (In re Wegner), 839 F.2d 533, 536 (9th Cir.1988). Whether a contract is executory is
    9   determined as of the petition date. See In re Coast Trading Co., Inc., 744 F2d 686, 692 (9th Cir. 1984);
  10    In re Penn Traffic Co., 524 F3d 373, 381 (2nd Cir. 2008).
  11               It is undisputed and self-evident that Scoobeez had and continues to have material unperformed
  12    obligations to makes deliveries of packages (defined as “Deliverables” in the Amazon Agreement) as
  13    requested by Amazon. Amazon’s position in the Amazon Objection is based solely on its argument that
  14    it has no material, unperformed obligations because it is not obligated to provide further work to
  15    Scoobeez in the future. Amazon Opp., p. 2-3. This does not accurately represent the terms of the
  16    Amazon Agreement, which contain a variety of continuing executory obligations of Amazon.
  17               First, as of the bankruptcy petition date, when the executoriness of a contract is determined,
  18    Amazon had a substantial unperformed payment obligation. This continues to be the case, based on the
  19    payment terms of the Amazon Agreement. Payment for Scoobeez’s services is provided for in sections 3
  20    and 4 of the Terms of Service. Section 3.a. provides that Amazon will pay Scoobeez for delivery
  21    services pursuant to the rates provided in the then-current work order. Section 4, provides that Scoobeez
  22    will invoice on a weekly basis, and that Amazon will pay disputed amounts within 30 dates of receipt.
  23    Amazon therefore has a future obligation to pay for completed work that is both unperformed and
  24    material. As of the petition date, the Debtors’ Schedule B reveals that total Accounts Receivable,
  25    substantially all of which represented Amazon invoices, totaled $4.19 million. There really cannot be a
  26    credible argument that this is not (a) an unperformed obligation, or (b) material. See e.g., Otto
  27    Preminger Films, Ltd. v. Qintex Entm't, Inc. (In re Qintex Entm't, Inc.), 950 F.2d 1492, 1495 (9th Cir.
  28

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    1   1991) (an ongoing obligation to pay is sufficient to determine that a contract is executory, if there is also
    2   performance due on the other side).
    3              The fact that the payment obligation is a rolling obligation does not change this plain result.
    4   Executoriness is measured at the petition date. In re Penn Traffic Co., 524 F3d 373, 381 (2nd Cir. 2008).
    5   The fact that that particular obligation has been paid off does not change the executory nature of the
    6   agreement. As a legal matter, the post-petition payment of an outstanding obligation does not render a
    7   contract not executory. Id. at 383 (finding that the non-debtor party’s post-petition performance did not
    8   render the contract no longer executory); In re Coast Trading Co., Inc., 744 F.2d 686, 693 (9th Cir.
    9   1984) (“The contract should be no less executory because the seller chooses not to suspend performance
  10    but tenders performance subsequent to the filing of the bankruptcy petition”). As a practical matter,
  11    regardless of when the Amazon Agreement is viewed, at any point from the petition date through the
  12    hearing on the Sale Motion, there is always an outstanding payment obligation on Amazon’s part.
  13               However, beyond payment obligations, Amazon also has other separate material unperformed
  14    and ongoing obligations under the equipment license provisions of the Amazon Agreement. Section 2.d.
  15    of the Amazon Agreement provides for a license of “Equipment” by Amazon to Scoobeez, for use in
  16    providing the delivery services. This Equipment consists of both hardware, in the form of handheld
  17    scanners together with their documentation, and software and other content and information furnished to
  18    Scoobeez. Section 2.d.ii. of the Amazon Agreement provides that Amazon grants a non-exclusive
  19    license to Scoobeez for use of the Equipment. The ongoing license itself is at least arguably executory.
  20    See Otto Preminger Films, 950 F.2d at 1495 (noting that “We have held that a computer software
  21    licensing agreement is executory,” but observing that not all such licenses are executory). Whether a
  22    given license is executory turns on the terms of the license and the obligations of the parties. Id. at 1496.
  23    Here the license is executory, because it contemplates that on an ongoing basis, Amazon will both
  24    provide training to Scoobeez employees, and perform “maintenance, service and repair” on the
  25    hardware. See Amazon Agreement, § 2.d.ii. By its nature, the license also requires Amazon to refrain
  26    from suing Scoobeez for use of the Equipment. The Ninth Circuit has held that this obligation not to sue
  27    is sufficient to find a non-exclusive license to be executory. See In re CFLC, Inc., 89 F.3d 673, 677 (9th
  28    Cir. 1996).

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    1              Further, there is yet another clear ongoing and executory obligation of Amazon in the form of an
    2   indemnity obligation in section 2.d.iv. of the Amazon Agreement. This section provides that Amazon
    3   “will defend and indemnify you from any loss, damage, cost, and expense (including reasonable
    4   attorneys’ fees and expenses) arising out of any claim, action or proceeding brought by a third party …
    5   alleging that your use of the Equipment as authorized under this Section 2.d infringes or misappropriates
    6   any third-party patent, copyright, trademark, trade secret or other intellectual property rights….” If a
    7   third party claim is brought in the future, Amazon will have a duty to defend and indemnify the Debtors.
    8   The fact that the obligation is contingent does not render it any less executory. This contingent
    9   obligation of Amazon renders the Amazon Agreement executory. See, e.g., In re Safety-Kleen Corp.,
  10    410 B.R. 164, 168 (Bankr. D. Del. 2009) (noting that where a contingent indemnity obligation was the
  11    only remaining unperformed obligation under a contract at the time of a debtor’s bankruptcy filing, such
  12    obligation rendered the contract an executory contract subject to assumption or rejection under Section
  13    365); Lubrizol Enters., Inc. v. Richmond Metal Finishers, Inc. (In re Richmond Metal Finishers, Inc.),
  14    756 F.2d 1043, 1046 (4th Cir.1985), cert. denied 475 U.S. 1057 (1986) (holding that a licensor's
  15    contingent duty to defend infringement suits was a material obligation); In re Hawker Beechcraft, Inc.,
  16    486 B.R. 264 (Bankr. S.D. N.Y. 2013); In re Spoverlook, LLC, 551 B. R. 481 (Bankr. D. New Mexico
  17    2016).
  18               In addition, the Delivery Provider Terms of Service incorporated under the Amazon Agreement
  19    contain other ongoing executory obligations of Amazon, including, for example, Amazon’s obligation to
  20    pay over tips collected under deliveries (Section 3.c.), Amazon’s obligation to use commercially
  21    reasonable efforts to resolve disputes promptly (Section 4), and Amazon’s obligation to pay taxes on
  22    invoices submitted by the Debtors (Section 12.i). All of these continuing obligations demonstrate that
  23    the Amazon Agreement is an executory contract, subject to the Debtors’ assumption and assignment
  24    powers pursuant to Section 365 of the Bankruptcy Code.
  25               In sum, the Amazon Agreement provides for Amazon to provide Scoobeez with hardware and
  26    software to use in connection with the delivery services, grants an ongoing license for use of this
  27    Equipment, requires Amazon to indemnify and defend Scoobeez from third party claims related to the
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    1   Equipment and contains various other ongoing obligations of Amazon. Therefore, the Amazon
    2   Agreement is an executory contract.
    3              B.     There is No Failure to Cure or Provide Adequate Assurance of Prompt Cure
    4              Amazon argues that the Debtors have failed to cure or provide adequate assurance of cure, while
    5   at the same time refusing to actually state what would be required to cure. The reality is that the Amazon
    6   Agreement is not in default.
    7              Section 365 allows a debtor to assume an executory contract regardless of existing defaults,
    8   provided that the debtor must either cure the default or provide adequate assurance that the default will
    9   be promptly cured. 11 U.S.C. § 365(b)(1)(A). In general, state law governs both the existence of a
  10 default requiring cure, and the performance necessary to cure. See In re Cochise College Park, Inc., 703

  11 F2d 1339, 1348, fn. 4 (9th Cir. 1983); In re Westside Print Works, Inc., 180 B.R. 557, 560 (9th Cir. BAP

  12 1995).

  13               The Amazon Agreement requires Scoobeez to indemnify and defend Amazon from third party
  14 lawsuits arising from actions of Scoobeez employees. Amazon Agreement, ¶ 9.a.4. Amazon argues that

  15 the Debtors are in breach of the indemnity and defense obligations as to three specific lawsuits. This is

  16 not accurate.

  17               One of the lawsuits, Hamilton v. Scoobeez, Inc. et al., (the “Hamilton Lawsuit”) was settled pre-
  18    petition, by a settlement agreement dated October 17, 2018 (the “Hamilton Settlement”). Although
  19    Amazon initially sent Scoobeez a form indemnification letter, Amazon then affirmatively chose to
  20    employ its choice of counsel rather than relying on provision of a defense by Scoobeez. Amazon has
  21    not made any demand identifying any outstanding indemnification obligation related to the Hamilton
  22 lawsuit.

  23               As to another of the lawsuits identified, Addal v. Amazon.com, et al. (the “Addal Lawsuit”),
  24    Amazon fails to acknowledge that (1) the plaintiff brings direct claims against Amazon based on
  25    allegations of wrongdoing by Amazon’s employees, and (2) that Scoobeez has in fact been dismissed
  26    from the case. Again, Amazon from the inception of the case conformed to its standard practice of
  27    electing to retain its preferred counsel, rather than relying on provision of a defense by Scoobeez.
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    1   Amazon has never made any demand for reimbursement of fees. The Addal lawsuit remains pending,
    2   and there has been no award or settlement in favor of the Plaintiff.
    3              The same issues apply to the Unta Key, et al., v. Scoobeez, et al. lawsuit in San Diego Superior
    4   Court (the “Unta Key Lawsuit”) (which was consolidated with the case of Arturo Vega v. Scoobeez et
    5   al.). As with the Addal and Hamilton lawsuits, Amazon elected to retain Morgan Lewis as its counsel
    6   rather than relying on a defense by Scoobeez. Amazon has never sent Scoobeez any request for
    7   reimbursement for fees associated with the Unta Key lawsuit. The Unta Key Lawsuit also remains
    8   pending, and there has been no award or settlement in favor of the plaintiffs.
    9              As to all three lawsuits raised by Amazon, the reality is that Amazon has elected to hire its own
  10    choice of counsel, and has never made any demand for reimbursement of fees, prior to the Amazon
  11    Opposition. There is therefore no default under the duty to defend.
  12               There also clearly cannot be any default under the duty to indemnify. As to two of the lawsuits,
  13    there has been no award or settlement, so the duty to indemnify is only speculative at most. As to the
  14    third, the Hamilton lawsuit, the settlement was paid by Scoobeez, and Amazon has not made any
  15    subsequent demand of any kind for indemnification or reimbursement of defense costs.
  16               Since the cases were filed, any in particular in connection with the sale motion, Scoobeez has
  17    repeatedly requested that Amazon provide any amount that it believes is owed under the indemnification
  18    provisions. To date, Amazon has failed to do so. Even the Amazon Opposition fails to provide any
  19    amount. Amazon’s inability to provide a number even now renders its simultaneous argument that
  20    Scoobeez has failed to pay, or assure payment of, this mystery amount almost farcical.
  21               Under these circumstances, two things are abundantly clear. One is that there is no default to be
  22    cured. The second is that this argument is a mere pretext.
  23               C.     There is No Failure of Adequate Assurance as to Amazon
  24               Amazon finally argues that there has been a lack of adequate assurance of future performance, as
  25    required by Section 365. 2 This argument is inaccurate as to Hillair, and premature as to any other bidder.
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          It should be noted that Amazon relies on section 365(b)(1)(C), which requires adequate assurance only when the contract is
        in default. As set forth above, the contract is not in default.
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    1              Section 365 requires that the non-debtor party be provided adequate assurance of future
    2   performance in connection with any assignment of an assumed contract.
    3   11 U.S.C. § 365(f)(2)(B). The issues of adequate assurance of future performance by Hillair as the
    4   stalking horse bidder is addressed by Hillair in its reply. The Debtor submits that Hillair has
    5   demonstrated adequate assurance. This is particularly true given the reality that, as Amazon points out, it
    6   can simply cease to request services from the Hillair purchaser at any time if it is not happy with
    7   Hillair’s performance. As part of its provision of adequate assurance, Hillair is providing information
    8   regarding assignment of its rights under the Asset Purchase Agreement.
    9              Amazon’s objection as to other bidders is premature. As Amazon correctly states, the Bid
  10    Procedures require that the Debtors immediately notify Amazon of the identity of the winning bidder at
  11    the October 14 auction, if the winning bidder is not Hillair. Amazon will then have until October 16 to
  12    objection to the ability of the winning bidder to provide adequate assurance. Unless and until there is a
  13    successful overbidder, this objection is just speculative, and is therefore premature. Amazon did not
  14    object to the motion for the Bid Procedures order, and such order already provided for the timeline.
  15    Amazon cannot object to it now.
  16                                                  III. CONCLUSION
  17               For all of the reasons set forth in the above, in the Sale Motion, and in the other documents filed
  18    in support of the Sale Motion, the Debtors respectfully submit that the Amazon Opposition should be
  19    overruled and the Sale Motion granted, including assumption and assignment of the Amazon
  20    Agreement.
  21
        DATED: October 11, 2019                            FOLEY & LARDNER LLP
  22

  23                                                       /s/ Shane J. Moses
                                                           Shane J. Moses
  24
                                                           Ashley M. McDow (245114)
  25                                                       John A. Simon (admitted Pro Hac Vice)
                                                           Shane J. Moses (250533)
  26
                                                           Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
  27                                                       GLOBAL, INC., and SCOOBUR, LLC
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    1                                   DECLARATION OF SCOTT A. SHEIKH
    2              I, Scott A. Sheikh, hereby declare as follows:
    3              1.     I am over 18 years of age. I have personal knowledge of the facts set forth herein, and, if
    4   called as a witness, could and would testify competently with respect thereto.
    5              2.     I am Co-Chief Executive Officer and General Counsel of the Scoobeez, a California
    6   corporation, and Scoobeez Global, Inc., an Idaho corporation. As such, I am authorized to make this
    7   declaration on behalf of the Debtors.
    8              3.     I am familiar with the history, organization, and operations of the Debtors. The
    9 statements set forth in this declaration are based upon my own personal knowledge and my knowledge

  10 of the Debtors’ books and records. As the Debtors’ General Counsel, I am familiar with the Debtors’

  11    litigation matters.
  12               4.     I make this declaration in support of the Debtors’ Reply to Amazon Logistics, Inc.’s
  13    Objection to Assumption and Assignment of Delivery Provider Terms of Service Work Order (the
  14    “Reply”) to which this declaration is annexed. 3
  15               5.     The case of Hamilton v. Scoobeez, Inc. et al., Los Angeles Superior Court Case No.
  16 BC669835 (the “Hamilton Lawsuit”), was settled pre-petition by an agreement dated October 17, 2018

  17 (the “Hamilton Settlement”). Although Amazon initially sent Scoobeez a form indemnification letter

  18 through its outside counsel, Morgan Lewis, Amazon then affirmatively chose to employ and pay for its

  19    chosen counsel rather than relying on provision of a defense by Scoobeez. Amazon has not made any
  20 demand identifying any outstanding indemnification obligation related to the Hamilton lawsuit.

  21               6.     The case of Addal v. Amazon.com, et al., Los Angeles County Superior Court Case No.
  22 BC719783 (the “Addal Lawsuit”), involved allegations of direct claims against Amazon based on

  23 allegations of wrongdoing by Amazon’s employees as well as claims related his employment with

  24 Scoobeez. Scoobeez was been dismissed as a party form the Addal Lawsuit on September 12, 2019.

  25 From the inception of the case, Amazon conformed to its standard practice of electing to retain its

  26 preferred counsel rather than relying on provision of a defense by Scoobeez. Amazon has never made

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          All capitalized terms used herein shall have the same meaning ascribed in the Reply, unless otherwise
        stated.
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    1   any demand for reimbursement of fees with respect to this case. The Addal lawsuit remains pending and
    2   there has been no award or settlement in favor of the Plaintiff to my knowledge.
    3              7.     The same issues apply to the Unta Key, et al., v. Scoobeez, et al. lawsuit pending in San
    4   Diego Superior Court as Case No. No. 37-2017-00018285, consolidated with Arturo Vega v. Scoobeez et
    5   al., San Diego Superior Court Case No. 37-2017-0039527 (the “Unta Key Lawsuit”) ). As with the
    6   Addal and Hamilton lawsuits, Amazon elected to retain Morgan Lewis as its counsel rather than relying
    7   on a defense by Scoobeez. Amazon has never sent Scoobeez any request for reimbursement for fees
    8   associated with the Unta Key lawsuit. The Unta Key Lawsuit also remains pending, and there has been
    9   no award or settlement in favor of the plaintiffs.
  10               8.     As to all three lawsuits raised by Amazon, the reality is that Amazon has elected to hire
  11    its own chosen counsel and has not made any demand for reimbursement of fees prior to the Amazon
  12    Opposition.
  13               I declare under penalty of perjury under the laws of the United States of America that the foregoing
  14    is true and correct.
  15               Executed this 11th day of October, 2019, at Los Angeles, California.
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                                                          Scott A. Sheikh
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                                                                                          REPLY ISO SALE MOTION
                                                           -10-                        Case No. 2:19-bk-14989-WB
4850-0785-3481.2
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: Foley &
Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411.

A true and correct copy of the foregoing document entitled: DEBTOR’S REPLY TO AMAZON LOGISTICS, INC.’S
OBJECTION TO ASSUMPTION AND ASSIGNMENT OF DELIVERY PROVIDER TERMS OF SERVICE WORK ORDER
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
10/11/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 10/11/2019, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
Honorable Julia W. Brand
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012


                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                     , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


10/11/2019                     Karla P. Hernandez                                           /s/ Karla P. Hernandez
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                               PROOF OF SERVICE OF DOCUMENT CONT.
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